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 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 6
      DEVITTA BRISCOE, as executor of the
 7    ESTATE OF CHE ANDRE TAYLOR,
      et al.,
 8
                             Plaintiffs,                 C18-262 TSZ
 9
           v.                                            MINUTE ORDER
10
      CITY OF SEATTLE, et al.,
11
                             Defendants.
12
          The following Minute Order is made by direction of the Court, the Honorable
13
     Thomas S. Zilly, United States District Judge:
14         (1)   The motion for reconsideration, docket no. 118, brought by defendants
     Michael Spaulding and Scott Miller, is DENIED.
15
          (2)     Defendants’ motion, docket no. 86, to exclude the opinions of Gregory
16 Gilbertson, is DENIED in part, GRANTED in part, and DEFERRED in part to trial, as
   follows:
17
                  (a)    For the reasons set forth in the Order entered September 1, 2020,
18        defendants’ motion to entirely preclude Gilbertson from testifying at trial is
          DENIED. See Order at 9 n.5 (docket no. 117). Indeed, Gilbertson has qualified to
19        testify as an expert witness in other cases in this district, including for the trial in
          Soule v. City of Edmonds, W.D. Wash. Case No. C14-1221 TSZ.
20
                  (b)    Defendants’ motion to limit Gilbertson’s testimony is GRANTED in
21        part and Gilbertson will not be permitted to offer any (i) legal conclusions (for

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 1          example, about the existence or non-existence of probable cause), 1 (ii) conjectures
            about the knowledge or intent of others (for example, whether Officers Miller and
 2          Spaulding knew that the “most reasonable and prudent course of action was to
            delay arresting” Che Andre Taylor), and/or (iii) comments about the evidence.
 3          See Order at 16 n.10, 21 n.13, & 24-25 n.15 (docket no. 117).

 4              (c)  Defendants’ motion to limit Gilbertson’s testimony is otherwise
            DEFERRED to trial.
 5
        (3)     Plaintiffs’ motions in limine, docket no. 111, are GRANTED in part,
 6 DENIED   in part, and DEFERRED in part, as follows:

            1.      Motion to prohibit any reference to any drug and/or alcohol abuse by
 7                  Che Andre Taylor (“Taylor”) is GRANTED;
 8          2.      Motion to exclude any mention of a tax on any recovery is DEFERRED to
                    the Pretrial Conference;
 9
            3.      Motion to prohibit any reference to attorney’s fees, any legal services
10                  agreements, and/or possible recovery of attorney’s fees and costs pursuant
                    to 42 U.S.C. § 1988 is GRANTED;
11
            4.      Motion to exclude any undisclosed witnesses or evidence is GRANTED,
12                  unless offered for impeachment or allowed by the Court’s rulings at trial;

13          5       Motion to prohibit any testimony by counsel or comments on witness
                    testimony (except in closing argument) is GRANTED;
14          6.      Motion to prohibit mention of the presentation of plaintiffs’ motions in
                    limine is GRANTED, except for objections based on prior rulings of the
15                  Court;
16          7.      Motion to preclude any claim or suggestion that a jury award will take
                    money from the taxpayers is GRANTED;
17
            8.      Motion to prohibit demands, in the presence of the jury, for materials in
18                  plaintiffs’ or plaintiffs’ counsel’s possession is DEFERRED to the Pretrial
                    Conference;
19

20   1
    Defendants seek to prevent Gilbertson from testifying that the force used against Che Andre
   Taylor was excessive. See Defs.’ Mot. at 9 & App. A (docket no. 86). Gilbertson did not,
21
   however, set forth in his report an opinion concerning this ultimate issue for the trier of fact.
   See Gilbertson Report, Ex. B to Gilbertson Decl. (docket no. 90-2). In this regard, defendants’
22 motion is DENIED as moot.

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 1        9.    Motion to allow the Court’s Unconscious Bias Video to viewed by the jury
                is GRANTED;
 2
          10.   Motion to preclude reference to any witnesses as “experts” is DENIED;
 3
          11.   Motion to require all witnesses to wear civilian clothing is DENIED;
 4        12.   Motion to allow Taylor’s autopsy photos is DEFERRED to the Pretrial
                Conference; plaintiffs should be prepared to identify any photos they seek
 5              to admit;
 6        13.   Motion to allow Taylor’s photos and family photos is DEFERRED to the
                Pretrial Conference; plaintiffs should be prepared to identify any photos
 7              they seek to admit;

 8        14.   Motion to preclude testimony or argument concerning any statements by
                anyone regarding Taylor’s alleged possession of a gun is DEFFERED to
 9              the Pretrial Conference;

10        15.   Motion to exclude the testimony of defense expert William Neale is
                GRANTED as to substantive evidence, and DEFFERED to the Pretrial
11              Conference as to the admissibility of the animation and related testimony as
                demonstrative evidence;
12
          16.   Motion to exclude the testimony of defense expert Matt Noedel is
13              GRANTED in part and DEFERRED in part to the Pretrial Conference;
                Noedel will not be permitted to merely summarize or comment on the
14              evidence; defendants should be prepared to address at the Pretrial
                Conference the admissibility of Noedel’s “conclusions,” as set forth in his
15              Report dated December 6, 2019, Ex. A to Sharifi Decl. (docket no. 113-1);

          17.   Motion to exclude the testimony of defense expert Michael Odle is
16              GRANTED;
17        18.   Motion to exclude the testimony of defense expert Jennifer Piel is
                DEFERRED to the Pretrial Conference; defendants are DIRECTED to file
18              under seal, within five (5) days of the date of this Minute Order, a copy of
                Dr. Piel’s report;
19
          19.   Motion to exclude the testimony of defense expert Allen Muchmore is
20              DEFFERED to the Pretrial Conference;

21        20.   Motion to exclude any argument or mention that the individual defendants
                would be required to pay part or all of any judgment in this case is
22              GRANTED;

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 1         21.   Motion to preclude defendants from implying to the jury that they have no
                 prior record of misconduct or citizen complaints is DEFFERED to the
 2               Pretrial Conference;

 3         22.   Motion to allow plaintiffs to present argument about “the conscience of the
                 community” is DENIED;
 4
           23.   Motion to exclude evidence or argument concerning Taylor’s prior arrests,
 5               prison record, and/or criminal record is DENIED to the extent that Officers
                 Miller and/or Spaulding had actual knowledge of the arrests, prison record,
 6               and/or criminal record at the time of the shooting at issue, and DEFERRED
                 to the Pretrial Conference as to evidence that might be relevant to damages;
 7         24.   Motion to exclude evidence or argument characterizing Taylor’s actions as
                 an attack, pulling a gun, or not complying with officers’ commands is
 8               DENIED; and
 9         25.   Motion to exclude evidence or argument concerning Taylor’s prior bad acts
                 is DENIED to the extent that Officers Miller and/or Spaulding had actual
10               knowledge of such prior bad acts at the time of the shooting at issue, and
                 DEFERRED to the Pretrial Conference as to evidence that might be
11               relevant to damages.

12        (4)   Defendants’ motions in limine, docket no. 109, are GRANTED in part,
     DENIED in part, and DEFERRED in part, as follows:
13
           1.    Motion to bar any argument or evidence concerning dismissed claims is
14               GRANTED;

15         2.    Motion to bar any reference to unrelated prior uses of force by either of the
                 individual defendants and/or statements about other cases involving those
16               defendants is DEFFERED to the Pretrial Conference;

           3.    Motion to exclude evidence concerning the City of Seattle’s self-insurance,
17               the City’s financial status, and the indemnification of officers by the City is
                 GRANTED;
18
           4.    Motion to exclude evidence of specific medical diagnoses for any party or
19               witness (physical or psychological) without competent medical testimony is
                 DEFFERED to trial;
20
           5.    Motion to bar any witness or evidence not previously disclosed (other than
21               rebuttal witnesses or exhibits) unless for impeachment purposes is
                 GRANTED;
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 1        6.    Motion to exclude non-party witnesses from the courtroom until after they
                have testified and been released is GRANTED;
 2
          7.    Motion to preclude argument that the jury should put themselves in a
 3              party’s shoes (i.e., “Golden Rule” arguments) is GRANTED;

 4        8.    Motion to bar plaintiffs’ counsel from stating in voir dire any specific dollar
                amount for damages or inquiring about a juror's ability to award a particular
 5              amount is DENIED;

          9.    Motion to bar evidence bolstering plaintiffs’ or Taylor’s character is
 6              DENIED;
 7        10.   Motion to bar discussion about any other shooting incidents or Office of
                Professional Accountability investigations unrelated to the subject incident
 8              is DEFFERED to the Pretrial Conference; plaintiffs are DIRECTED to file,
                within five (5) days of the date of this Minute Order, copies of any
 9              transcripts or other evidence concerning other shootings that they seek to
                introduce at trial;
10
          11.   Motion to bar any evidence that the officers’ actions did not conform to
11              Seattle Police Department policies, procedures, or training, including
                specifically any reference to the Taser Training Manual, is DENIED;
12
          12.   Motion to bar any evidence or argument regarding Taylor’s loss of future
13              income or business opportunities is DENIED;

14        13.   Motion to exclude evidence of settlement discussions, lack of settlement
                discussions, or the parties’ positions on settlement is GRANTED;
15        14.   Motion to exclude references to the cost of litigation is GRANTED;
16        15.   Motion to preclude display of exhibits before the jury, either during
                opening statements or witness examination, until the exhibit is admitted
17              into evidence, stipulated to by the parties, or permission is obtained from
                the Court is GRANTED;
18
          16.   Motion to exclude any reference to the personal experiences or opinions of
19              plaintiffs’ counsel is DENIED;

20        17.   Motion to preclude inquiry into the individual defendants’ communications
                with their counsel and discussion of any of the Court’s orders is DENIED;
21
          18.   Motion to exclude evidence or argument that Taylor did not make a motion
22              with his right arm that was consistent with drawing a firearm is DENIED;

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 1        19.   Motion to exclude any references to the individual defendants’ alleged
                “fixation” on a gun or “gun focus” is DENIED;
 2
          20.   Motion to exclude evidence or argument that the officers should have been
 3              carrying any particular type of less lethal tool, including a taser or 40 mm
                shotgun, is DENIED;
 4
          21.   Motion to exclude evidence or argument regarding the significance of
 5              particles shown on the gun in photographs is GRANTED; defendants’
                related motion to exclude evidence or argument regarding “other forensic
 6              science issues” is DENIED as vague;

          22.   Motion to exclude evidence or argument regarding Taylor’s state of mind
 7              when officers were attempting to take him into custody is GRANTED in
                part and DENIED in part; witnesses may not testify or speculate about
 8              Taylor’s state of mind, but plaintiffs may discuss in closing argument the
                reasonable inferences to be drawn from the evidence concerning what a
 9              reasonable person in Taylor’s situation would have perceived;
10        23.   Motion to exclude evidence or argument regarding Taylor’s status as a
                confidential informant is GRANTED;
11
          24.   Motion to preclude any mention, discussion, or commentary on national
12              current affairs or politics is GRANTED;

13        25.   Motion to bar any reference by any witness or counsel to (1) the
                December 16, 2011, Report of the Department of Justice; (2) the Consent
14              Decree; or (3) generalizations or characterizations about the Seattle Police
                Department that are not directly relevant to this case is GRANTED;
15
          26.   Motion to exclude any evidence or argument regarding the inquest
16              proceedings pertaining to this incident is GRANTED, except that
                transcripts of testimony given during the inquest may be used for
17              impeachment purposes without disclosing when or in what context the
                testimony was given;
18        27.   Motion to exclude any evidence or argument regarding the “Not This
                Time” organization or other similar organizations is GRANTED, except
19              that potential jurors may be asked during voir dire whether they belong to
                or contribute money to such organizations;
20
          28.   Motion to exclude any evidence or argument regarding Taylor’s family
21              members’ and friends’ experiences at the hospital after the shooting is
                GRANTED.
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 1         (5)    Counsel are DIRECTED to meet and confer and to file, by October 2, 2020,
   a Joint Status Report addressing: (i) when the parties will be prepared for trial in this
 2 matter; and (ii) whether the parties consent to conduct the trial remotely via the
   ZoomGov.com platform. For more information about virtual proceedings, please see
 3 the Order dated September 16, 2020, in Dallo v. Holland America Line N.V., LLC,
   W.D. Wash. Case No. C19-865 TSZ (docket no. 53), and visit the District’s website at
 4 https://www.wawd.uscourts.gov/attorneys/remotehearings.

 5          (6)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
 6
            Dated this 17th day of September, 2020.
 7
                                                      William M. McCool
 8                                                    Clerk
 9                                                    s/Karen Dews
                                                      Deputy Clerk
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